(Rev. 10/19) Judgment in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                            for the
                                                       District of Alaska

                    RONALD OERTWICH                            )
                              Plaintiff                        )
                                 v.                            )      Civil Action No. 3:19-cv-00082-JWS
     TRADITIONAL VILLAGE OF TOGIAK, et al.                     )
                            Defendant                          )

                                            JUDGMENT IN A CIVIL ACTION

DECISION BY COURT. This action came to trial or decision before the Court. The issues have been tried or
determined and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED:

          THAT Defendant Teodoro Pauk’s motion to dismiss with prejudice at docket 60 has not been opposed.
          Upon review, the court finds the motion has merit. The motion at docket 60 is granted. Plaintiff’s
          claims against Teodoro Pauk are dismissed with prejudice.




APPROVED:

s/John W. Sedwick
John W. Sedwick
United States District Judge
                                                                                  Jennifer A. Gamble
Date: December 19, 2019                                                            Jennifer A. Gamble
                                                                                  Acting Clerk of Court
Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.




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